             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE




UNITED STATES OF AMERICA                       )
                                               )
v.                                             )     No. 3:06-CR-123
                                               )
DOUGLAS TROY THOMPSON and                      )
RANDALL THOMPSON                               )


                          MEMORANDUM AND ORDER


             This criminal case is before the court on the motion of defendant

Randall Thompson for a continuance of the trial [doc. 69]. The defendant says

that additional time is necessary because his counsel has been hospitalized for

heart bypass surgery and will not be able to resume his practice of law for two to

three months. Co-defendant joins in the motion [doc. 70].

             The court finds the defendant’s motion well-taken, and it will be

granted. The court finds that the ends of justice served by granting the motion

outweigh the best interest of the defendant and the public in a speedy trial. 18

U.S.C. § 3161(h)(8)(A). The failure to grant the motion would deny the defendant

his attorney’s services and his attorney a reasonable time to effectively prepare

for trial. 18 U.S.C. § 3161(h)(8)(B)(iv). Therefore, all the time from the filing of

the motion to the new trial date is excludable time within the meaning of the

Speedy Trial Act. 18 U.S.C. § 3161(h)(8)(A).



Case 3:06-cr-00123-RLJ-HBG      Document 71 Filed 11/13/07        Page 1 of 2   PageID
                                      #: 109
            It is hereby ORDERED that the defendant’s motion for a continuance

is GRANTED, and the trial of this criminal case is CONTINUED to March 25,

2008, at 9:00 a.m.



                                          ENTER:



                                                 s/ Leon Jordan
                                          United States District Judge




                                      2


Case 3:06-cr-00123-RLJ-HBG   Document 71 Filed 11/13/07    Page 2 of 2   PageID
                                   #: 110
